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                                    UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE
                                          WESTERN DIVISION




TANYA GILBERT,

         Plaintiff,

V.                                                                        NO. 12-2837-Ma

NATIONWIDE PROPERTY AND
CASUALTY INSURANCE COMPANY,

         Defendant.




                                                  JUDGMENT

     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT   IS   ORDERED   AND   ADJUDGED   that   this   action   is
dismissed with prejudice in accordance with the Order of Dismissal,
docketed February 14, 2013. Each party shall bear its own costs.
Any remaining costs shall be assessed against Defendant.


APPROVED:


  s/ Samuel H. Mays, Jr.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE


  February 14, 2013                                             THOMAS M. GOULD
DATE                                                           CLERK

                                                                s/   Zandra Frazier
                                                               (By) DEPUTY CLERK
